                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE


JAMES SWAIN RIEVES,                         )
SAMY ANGLY                                  )
AYOOB AYOOB                                 )
LOUIS SHAUN BERBERT                         )
AKRAM BISHARA                               )
ESKANDER ESKANDER                           )
GEORGE HANNA                                )
EHAB MALATY                                 )
ALAA MANKARIOUS                             )
NEVEN MANSOUR                               )
MICHEAL MARCOUS                             )
MENA MIKHAIL                                )
SCOTT RITTER                                )
GINA RITTER                                 )
FREDERICK SUBLETT                           )
MARIAN TADROUS                              )
MICHAEL ZAKARIA                             )
                                            )
       PLAINTIFFS,                          )
                                            )
v.                                          )    CASE NO. 3:18-cv-0965
                                            )
                                            )    JURY TRIAL DEMANDED
                                            )
TOWN OF SMYRNA, TENNESSEE,                  )
POLICE CHIEF KEVIN ARNOLD, in his           )
official and individual capacity,           )
RUTHERFORD COUNTY, TENNESSEE,               )
DISTRICT ATTORNEY JENNINGS JONES,           )
in his official and individual capacity,    )
ASSISTANT DISTRICT ATTORNEY JOHN            )
ZIMMERMAN, in his official and individual   )
capacity, and SHERIFF MIKE FITZHUGH,        )
in his official and individual capacity.    )
                                            )
       DEFENDANTS.                          )



                           NOTICE OF APPEARANCE




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       COMES NOW Josh A. McCreary, Hudson, Reed & McCreary, PLLC, and enters his

appearance on behalf of Defendants, Rutherford County, Tennessee and Sheriff Mike Fitzhugh.


                                                 Respectfully submitted,

                                                 Hudson, Reed & McCreary, PLLC

                                                 By:/s/ Josh A. McCreary____________
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was sent via the Court’s electronic filing system to all counsel registered in this case on this 31st
day of October, 2018:

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                                                      /s/ Josh A. McCreary___________
                                                      Josh A. McCreary




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